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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

 INGRID YEARBY,

         Plaintiff,                                     CASE NO.

                  v.

 COMMERCIAL RECOVERY SYSTEMS, INC.,

         Defendant.
                                                 /

                                    PLAINTIFF’S COMPLAINT

        COMES NOW Plaintiff, INGRID YEARBY (“Plaintiff”), by and through her attorneys,

 KROHN & MOSS, LTD., and for Plaintiff’s Complaint against Defendant, COMMERCIAL

 RECOVERY SYSTEMS, INC. (“Defendant”), alleges and affirmatively states as follows:

                                          INTRODUCTION

         1.      Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices

 Act (“FDCPA”), 15 U.S.C. § 1692, et seq.

                                  JURISDICTION AND VENUE

         2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

 that such actions may be brought and heard before “any appropriate United States district court

 without regard to the amount in controversy.

         3.      Defendant conducts business in the State of Florida establishing personal

 jurisdiction.

         4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                              PARTIES

         5.      Plaintiff is a natural person who resides in Palm City, Martin County, Florida.
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        6.     Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1692a(3), and

 according to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. §

 1692a(5).

        7.     Defendant is a business entity with a business office located in Dallas, Texas.

        8.     Defendant uses instrumentalities of interstate commerce or the mails in any

 business the principal purpose of which is the collection of any debts, or who regularly collects

 or attempts to collect, directly or indirectly, debts owed or due or asserted to be owed or due

 another and is a "debt collector" as that term is defined by 15 U.S.C. § 1692a(6).

        9.     Defendant sought to collect a debt from Plaintiff.

        10.    Defendant acted through its agents, employees, officers, members, directors,

 heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                    FACTUAL ALLEGATIONS

        11.    Defendant contacted Plaintiff attempting to collect a debt allegedly owed.

        12.    The alleged debt arises from transactions for personal, family and household

 purposes.

        13.    In its collection attempts, Defendant placed telephone calls to Plaintiff.

        14.    When Plaintiff was unable to answer Defendant’s collection calls, Defendant left

 her voice messages. See message Defendant left for Plaintiff in January 2013, attached hereto as

 Exhibit A.

        15.    Defendant made multiple misrepresentations to Plaintiff in an effort to deceive

 Plaintiff. See Exhibit A.

        16.    Defendant continuously informed Plaintiff there is a Complaint against Plaintiff

 with Case Number 4103855. See Exhibit A.



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        17.    Upon information and belief, neither Defendant nor any entity that Defendant

 acts on behalf of has filed any legal claim against Plaintiff in any court.

        18.    Thus, Defendant’s statement that Plaintiff needs to respond to a Complaint with

 Case Number 4103855, is a statement made in an effort to scare and deceive Plaintiff. See

 Exhibit A.

        19.    Defendant’s message attempts to intensify the purported severity of its call by

suggesting a lawsuit has been filed. See Exhibit A.

        20.    Defendant uses the aforementioned false, deceptive and misleading representations

 in connection with its attempts to collect the alleged debt.

        21.    Additionally, Defendant never informed Plaintiff that it was a debt collector nor

 did it provide its business name. See Exhibit A.

        22.    The true purpose of Defendant’s call was to attempt to collect a debt from

 Plaintiff, something that it failed to disclose to Plaintiff in its message. See Exhibit A.

        23.    Defendant provided phone number 214-319-5306 in the voice message, which is a

 telephone number that belongs to Defendant. See Exhibit A.

                               COUNT I
     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                     (FDCPA), 15 U.S.C. § 1692 et seq.

        24.    Defendant violated the FDCPA based on the following:

                a)      Defendant violated § 1692d of the FDCPA by engaging in conduct the

                        natural consequence of which is to annoy Plaintiff.

                b)      Defendant violated § 1692d(6) of the FDCPA by not disclosing its

                        identity in its communication to Plaintiff.




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                  c)   Defendant violated § 1692e(5) of the FDCPA by threatening to take legal

                       action against Plaintiff even though Defendant has not and does not

                       intend to take such action.

                  d)   Defendant violated § 1692e(10) of the FDCPA by using deceptive means

                       in an attempt to collect a debt.

                  e)   Defendant violated § 1692e(11) of the FDCPA by failing to disclose in its

                       communication that it is a debt collector.

        WHEREFORE, Plaintiff respectfully requests judgment be entered against Defendant for

 the following:

        25.    Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices

 Act, 15 U.S.C. § 1692k.

        26.    Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

 Practices Act, 15 U.S.C. § 1692k.

        27.    Any other relief that this Honorable Court deems appropriate.

                                 DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, INGRID YEARBY, demands a jury trial in this

 cause of action.

       DATED: April 16, 2013                          RESPECTFULLY SUBMITTED,

                                                By: /s/ Shireen Hormozdi

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